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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 LATOYA BECTON et al,                     )
                                          )
       Plaintiff,                         ) Civil Action
                                          )
 vs.                                      ) File No. 1:16-CV-4003-MLB
                                          )
 WYB, INC. D/B/A FOLLIES et al,           )
                                          )
       Defendants.                        )

       PLAINTIFFS' JOINT OBJECTIONS TO PROPOSED LEAVE OF
           ABSENCE OF DEFENSE COUNSEL ERICA MASON

        The Plaintiffs, by and through the undersigned counsel, file their joint

objections under Local Rule 83 to the proposed leave of absence filed by defense

attorney Erica Mason on Friday, February 25, 2022 seeking a leave for 5 months.

[Docket no. 203]. The Plaintiffs object on the following grounds:

1.      Defense counsel violated Local Rule 83.1(E)(4) because she failed to file a

motion and evidence showing cause for leave for the extreme period of time in

issue. Defense counsel instead filed a proposed leave of 5 months (more than 21

days) in standard form and thereby failed to satisfy her burden.

2.      Defense counsel further violated Local Rule 83.1(E)(4) because the

proposed leave of absence is untimely. In the first instance, defense counsel filed
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it on February 25, 2022 with a retroactive commencement date of February 15,

2022. Second, the proposed leave of absence does not provide advance notice of a

period of ten (10) days for opposing counsel to object.

3.    The only apparent purpose of the proposed, extremely long leave of absence

is to create a delay in the proceedings. Defense counsel filed the proposed leave

for a period of 5 months shortly after the Plaintiffs' counsel jointly submitted to the

Defendants' counsel a proposed consent motion and consent order setting deadlines

for the parties to conclude any desired discovery and deadlines for filing

dispositive motions. The only rational inference that can be drawn from the filing

of the discrepant leave of absence in close temporal relation to the submission of

the proposed motion and order is that its intended purpose is delay.

4.    Defense counsel Erica Mason, the proponent of the discrepant leave of

absence, is not the only counsel of record for the Defendants in this civil action or

other FLSA actions pending against the Defendants. Defense counsel's law firm,

Akerman, LLP, has approximately 700 attorneys and has more than enough

manpower to cover the case during the leave of absence of any attorney and a leave

of absence that results in a five month [approximately 150 day] delay in the

proceedings should not be granted under any circumstances. If defense counsel is




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granted any leave of absence for any period of time under any filing, the leave

should not delay the proceedings in this civil action.

5.    The Plaintiffs' counsel of record in this filing include attorneys that recently

appeared in this civil action for the first time. The Plaintiffs' counsel jointly

communicated with Defendants' counsel regarding a consent motion and consent

order to set deadlines to conclude discovery and for the filing of dispositive

motions. The Defendants' counsel have not yet provided the courtesy of a response

to the inquiry and instead filed the discrepant leave of absence. Thus, if the

Defendants' counsel will not cooperate with Plaintiffs' counsel on scheduling

matters, the Plaintiffs will be forced to file a motion for the entry of an order

setting deadlines for the completion of discovery and the filing of dispositive

motions.

      This 1st day of March, 2022.

                                         Dudley Law, LLC

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                                         Ainsworth G. Dudley, Ga. Bar No. 231745
                                         Counsel for Plaintiffs

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                         CERTIFICATE OF SERVICE

      The undersigned counsel for the Plaintiffs certifies that on this date he filed

the attached and foregoing Plaintiffs' Objections To Proposed Leave Of Absence

via the electronic filing and case management system which automatically

generated and served a true and correct copy on all counsel of record.

      This 1st day of March, 2022.

                                       Vince Tilley, P.C.

                                       /s/ Vincent M. Tilley
                                       Vincent M. Tilley, Ga. Bar No. 712237
                                       Counsel for Plaintiffs

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